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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

TRUSTEES OF THE MASON TENDERS

 

DISTRICT COUNCIL WELFARE FUND, 19-cv-0711 (JGK)
PENSION FUND, ANNUITY FUND, AND

TRAINING PROGRAM FUND, ANNA GU'TSIN, MEMORANDUM OPINION
AND ROBERT BONANZA, AND ORDER

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Petitioners,

 

 

 

 

 

 

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~ against — we
A.J.S. PROJECT MANAGEMENT, INC., ELECTRONICALLY FILED
DOC #: _
Respondent DATE FILED: ll-@—20 .

 

 

 

 

JOHN G. KOELTL, District Judge:

The Trustees of the Mason Tenders District Council Welfare
Fund, Pension Fund, Annuity Fund, and Training Program Fund,
(the “Funds”); Anna Gutsin in her capacity as the Director of
the Funds; and Robert Bonanza as the Business Manager of the
Mason Tenders District Council of Greater New York (the “Union”)
(together with the Funds, and Anna Gutsin, the “Petitioners”),
have filed a petition to confirm an arbitration award (the
“Petition”), pursuant to section 301 of the Labor Management
Relations Act of 1947 (“LMRA”’}, as amended, 29 U.S.C. § 185. The
arbitration award was issued by arbitrator Joseph Harris on
January 25, 2018 (the “Award”’) and was rendered pursuant to a
collective bargaining agreement (the *“CBA”%) involving the Union

and A.J.S. Project Management, Inc. (the “Respondent”). The

 
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Respondent has not opposed the Petition, nor opposed
Petitioners’ motion for summary judgment and accompanying Local
Rule 56.1 Statement. For the reasons explained below, the
Petitioners’ Petition to confirm their arbitration award is

GRANTED.

The following uncontested facts are taken from the
Petitioners’ Petition, motion for summary judgment, and their
supporting documents.

The Respondent is a construction contractor, located in New
York. Petitioners’ Local Rule 56.1 Statement, ECF No. 11
(“pet.’s R. 56.1 Stmt.”) G@ 5. At all relevant times, the
Respondent was an “employer” within the meaning of 29 U.S.C.

§ 152(2). Petition to Confirm Arbitration Award, ECF No. i
(“Pet.”) @ 3. The Funds are “employee benefit plan{s]” and
“multiemployer plans,” within the meaning of Sections 3(3) and
3(37) (A) of the Employee Retirement Income Security Act of 1974
(“BRISA”), 29 U.S.C. § 1002(3) & (37) (A). Pet.’s RR, 56.1 Stmt.

Gq 1; Pet. 7 2. The Funds are organized and operated in
accordance with ERISA, with their principal place of business in
New York. Pet.’s R. 56.1 Stmt. 1; Pet. 9 1. The Funds are each
established and maintained pursuant to an Amended and Restated
Agreement and Declaration of Trust (collectively, the “Trust

Agreements”), and are jointly administered by a Board of

 

 
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Trustees. Pet.’s R. 56.1 Stmt. 1; Pet. { 1. Anna Gutsin is the
“administrator” of the Funds. Pet.’s R. 56.1 Stmt. @ 2;
Declaration of Haluk Savci, ECF No. 11 (“Sacvi Decl.”) @ 4. The
Union is a labor organization within the meaning of Section 301
of the LMRA, 29 U.S.C. § 185, that represents employees in an
industry affecting commerce within the meaning of section 501{1)
of the LMRA, 29 U.S.C. § 142(1) and section 3(4}) of ERISA, 29
U.S.C. § 1002(4), and is the certified bargaining representative
for certain employees of the Respondent. Pet.’s R. 56.1 Stmt.

qi 3-6; Sacvi Decl. W@ 5-8. The Union maintains its principal
place of Business in New York, and Robert Bonanza is the
business Manager of the Union and brings this action, in his
representative capacity, pursuant to N.Y. General Associations
Law § 12. Pet.’s R. 56.1 Stmt. @@ 4; Sacvi Decl. @ 6.

In duly 2008, the Respondent entered into an Independent
Collective Bargaining Agreement (the “CBA”) with the Union, for
the period for July 1, 2008 to June 30, 2011. Pet.’s R. 56.1
Stmt. © 5; Sacvi Decl. @ 7, Ex. 2, Art. XII. The Respondent and
Union signed an amendment to the Agreement in 2010. Sacwi Decl.
{ 7, Ex. 2. The CBA contained an “evergreen” clause, providing
that the CBA would continue to be renewed on an annual basis,
unless either party provided written notice. Sacvi Decl. { 7,
Ex. 2, Art. XII. The Respondent also consented to be bound to

the New York City School Construction Authority’s Project Labor

 
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Agreement covering Specified Construction Work Under the Capital
Improvement Program for Fiscal Years 2009-2014 (“PLA”) with the
Building and Construction Trades Council of Greater New York, of
which the Union is a member. Pet.’s R. 56.1 Stmt. @ 5; Sacvi
Decl. I 7, Ex. 2, PLA. Article VI of the CBA and Article il,
Section 2{A) of the PLA each require employers to pay timely
benefit contributions to the Funds for all covered employees.
Pet.’s R. 56.1 Stmt. @ 9; Savei Decl. J 11, Ex. 2, CBA, Art. VI
& PLA, Art. 11. Under Art. 11, Section 2(B) of the PLA and
Article VI, Section 15(i) of the CBA, the Respondent agreed to
be bound to the terms and conditions of the Fund’s Trust Fund
Agreements. Pet.’s R. 56.1 Stmt. 7 10; Savci Decl. 9 12, Ex. 2,
CBA, Art. 15(i). Section 15(1) of the CBA specifically includes
consent to be bound to the Trust Fund Agreement’s arbitration
procedures for allegedly delinquent contributions. Pet.’s R.
56.1 Stmt. € 10; Savci Decl. 4 12, Ex. 2, CBA, Art. 15(i). The
Trust Fund Agreements provide that the Funds’ trustees have the
power to take steps to collect allegedly delinquent
contributions, including the option of commencing arbitration
proceedings. Pet.’s R. 56.1 Stmt. G4 11-14; Savei Deci. FT 13-
15, Exs. 2, 3, 4.

The underlying dispute at issue here arose after the
Petitioners’ auditors conducted an audit of the Respondent,

covering the period from September 1, 2012 through October 13,

 
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2013, and found that the Respondent had failed to pay
$160,004.34 in contributions, $12,967.25 in dues and PAC
contributions, $31,257 in current interest, $841.76 in interest
on late contributions, and $14,933.74 in imputed audit costs.
Pet.’s R. 56.1 Stmt. @ 18; Savci Decl. 7 21, Ex. 6. The Funds
served a notice and demand for arbitration, dated December 21,
2017, on the Respondent, and the arbitrator notified the parties
on December 24, 2017 via mail and email, that a hearing would be
held on the matter on January 18, 2018. Pet.’s R. 56.1 Stmt.

@ 16; Savci Decl. 9 19, Ex. 6. The Respondent failed to respond,
to remediate the findings of the audit, or to make an appearance
at the January 18, 2018 hearing. Pet.’s R. 56.1 Stmt. VT 16-17;
Savel Decl. U1 19-20, Exs. 1, 6. The arbitrator found in favor
of the Petitioners, based on the unrebutted evidence and hearing
record that the Respondent failed to pay the required benefit
contributions. Pet.’s R. 56.1 Stmt. @€ 19; Savci Decl. 9 22, Ex.
1. For the Award which the Petitioners seek to confirm, the
arbitrator determined that the Respondent is liabie for a total
of $284,119.59, consisting of $160,004.34 of delinquent Fund
contributions, $12,967.25 in dues and PAC contributions,
$31,257.50 of “Current Interest,” $62,515.00 of liquidated
damages, plus interest for late payments, together with

attorney’s fees and other costs. Savci Decl. @ 22, Ex. 1.1

 

1 The Petitioners have informed the Court that the arbitrator’s award of

 
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The Petitioners represent they subsequently made a further
demand for payment, and then initiated this lawsuit to enforce
the Award. Pet.’s R. 56.1 Stmt. G 20; Savci Decl. @ 23. The
Respondent has failed to respond to this Court’s Orders dated
April 14, 2020 and September 12, 2020. See ECF Nos. 7, 14. The
Petitioners have filed a motion for summary judgment which is
unopposed,

Il.

Section 301 of the LMRA grants federal courts jurisdiction
over petitions brought to confirm labor arbitration awards.
Local 802, Associated Musicians of Greater N.Y. v. Parker
Meridien Hotel, 145 F.3d 85, 88 (2d Cir. 1998). The Supreme
Court has explained that district courts “are not authorized to
reconsider the merits of an award even though the parties may
allege that the award rests on errors of fact or on

misinterpretation of the contract.” United Paperworkers Int’ l

 

Union, AFL-CIO v. Misco, Inc., 484 U.S. 29, 36 (1987); Nat’l

 

 

Football League Mgmt. Council v. Nat’l Football League Players

 

Ass'n, 820 F.3d 527, 536 (2d Cir. 2016). Instead, “[a]s long as
the arbitrator is even arguably construing or applying the
contract and acting within the scope of his authority, that a

court is convinced he committed sericus error does not suffice

 

$62,515.00 in liquidated damages involved a calculation error and noted that
the correct liquidated damages amount should be $31,257.50. ECF No. 16.

 
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to overturn his decision.” Int'l Brotherhood of Elec. Workers,

 

Local 97 v. Niagara Mohawk Power Corp., 143 F.3d 704, 713 (2d

 

Cir. 1998) (quoting Misco, 484 U.S. at 38); Nat’i Football

League Mgmt. Council, 820 F.3d at 536. Accordingly, an

 

arbitration award is to be confirmed if there is even a “barely
colorable justification” for the decision. United States Steel &
Carnegie Pension Fund v. Dickinson, 753 F.2d 250, 252 (2d Cir.
1985).

The Respondent has failed to respond to the Petition at
issue and the motion for summary judgment, and both are
unopposed. However, the Court must do more than simply issue a
default judgment in favor of the Petitioners. The Second Circuit
Court of Appeals has explained that a default judgment is
generally inappropriate in a proceeding to confirm or vacate an
arbitration award because “[a] motion to confirm or vacate an
[arbitration] award is generally accompanied by a record
[and] the petition and accompanying record should [be] treated
as akin to a motion for summary judgment based on the movant’s

submissions.” D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 109

 

(2d Cir. 2006).

The standard for granting summary judgment is well
established. “The [C]ourt shall grant summary judgment if the
movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.”

 
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Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S.

 

317, 322-23 (1986); Darnell v. Pineiro, 849 F.3d 17, 22 (2d Cir.

 

2017). The substantive law governing the case will identify
those facts that are material and “[o]nly disputes over facts
that might affect the outcome of the suit under the governing
law will properly preclude the entry of summary judgment.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see

 

also N.Y.C. Dist. Council of Carpenters v. Reilly Partitions,

Inc., No. 18-cv-1211, 2018 WL 2417849, at *2 (S.D.N.¥. May 29,

 

2018).
TIL.

In this case, the arbitrator's award was not the
arbitrator’s “own brand of industrial justice.” See Misco, 484
U.S. at 36 (quoting United Steelworkers v. Enter, Wheel & Car
Corp., 363 U.S. 593, 597 (1960)). The arbitrator found that
uncontroverted testimony and evidence established that the
Respondent was bound by the CBA with the Union and the PLA and
that the Respondent was delinquent in making payments required
under the CBA and PLA, and was obligated to pay a delinquency
assessment and interest, plus other costs associated with the
delinquency and with the arbitration. Savci Decl., Ex. 1. The
arbitrator determined that the Respondent is liable for a total
of $284,119.59, consisting of $160,004.34 of delinquent Fund

contributions, $12,967.25 in dues and PAC contributions,

 
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$31,257.50 of “Current Interest,” $62,515.00 of liquidated
damages, plus interest for late payments, together with
attorney’s fees and other costs. Because the arbitrator’s award
of $62,515.00 in liquidated damages involved a calculation
error, the Petitioners have requested that this Court correct
the liquidated damages amount to be $31,257.50. See ECF No. 16.
Based on the limited review that is appropriate of an unopposed
petition to confirm an arbitration award, there is no genuine
dispute of material fact and the Award should be confirmed, with
the corrected liquidated damages amount.

Further, the Petitioners are also entitled to post-—judgment
interest on the full amount of the judgment at the rate provided

under 28 U.S.C. § 1961{(a). See Lewis v. Whelan, 99 F.3d 542, 545

 

(2d Cir. 1996) (“The award of post-judgment interest is
mandatory on awards in civil cases as of the date judgment is
entered.”) (citing 28 U.S.C. § 1961(a})). The Petitioners have
not requested attorney’s fees relating to this proceeding.
CONCLUSION

For the reasons explained above, the Petition to confirm
the arbitration award is GRANTED and the underlying arbitration
award is ordered confirmed.

The Clerk is directed to enter Judgment confirming the
Award, dated January 25, 2018, attached as Exhibit 1 to the

Petition, and to enter Judgment in favor of the Petitioners and

 
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against the Respondent, awarding Petitioners $252,862.09,
consisting of $160,004.34 of delinquent Fund contributions,
$12,967.25 in dues and PAC contributions, $31,257.50 of “Current
Interest,” $31,257.50 of liquidated damages, plus interest for
late payments, together with attorney’s fees and other costs.

The Clerk is directed to enter Judgment accordingly and to
close this case.

SO ORDERED.

Dated: New York, New York ye bo Keck

November 6, 2020
7 John G. Keeltl

Ad States District Judge

 

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